
640 S.E.2d 62 (2006)
CALABRIA
v.
ELECTIONS &amp; HUDSON.
No. 625P06.
Supreme Court of North Carolina.
December 19, 2006.
Susan K. Nichols, Special Deputy Attorney General, Mark Davis, Assistant Attorney General, for Bd. of Elections.
Michael Crowell, Raleigh, for Hudson.
John Wallace, Raleigh, for FairJudges.net.
The following order has been entered on the Alternative Motion filed on the 15th day of December 2006 by Plaintiff to Suspend the Rules:
"Motion Dismissed as moot by order of the Court in conference this the 19th day of December 2006."
Justices PARKER, MARTIN and TIMMONS-GOODSON recused.
